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1                                                    U.S. District Court Judge Hon. Lauren King
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7                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WASHINGTON
8
                                          AT SEATTLE
9

10   BEVERLY JANE CARY,
                                                    CASE NO. 2:22-cv-00538-LK
11                              Plaintiff,
                       v.
                                                    DEFENDANT FIRST AMERICAN TITLE
12
                                                    INSURANCE COMPANY’S MOTION TO
     PATCH SERVICES, LLC d/b/a NOAH;
                                                    STRIKE PLAINTIFF’S SECOND
13   PATCH HOMES, INC.; FIRST                       AMENDED COMPLAINT
     AMERICAN TITLE INSURANCE
14   COMPANY LENDERS ADVANTAGE,
                                                    NOTE ON MOTION CALENDAR:
15                              Defendants.         JUNE 17, 2022
16

17
              Pursuant to Federal Rule of Civil Procedure 12(f), Defendant First American Title
18
     Insurance Company (erroneously sued as First American Title Insurance Company
19
     Lender’s Advantage) (“FATIC”) hereby submits the following Motion to Strike Plaintiff’s
20
     Second Amended Adversary Complaint (“SAC”).
21
                       I.        INTRODUCTION AND RELIEF REQUESTED
22
              Plaintiff Beverly Jane Cary has filed her SAC without leave of the Court or consent
23
     of the parties. That filing violated Federal Rule of Bankruptcy Procedure 7015 and should
24
     be stricken as a procedurally improper nullity without legal effect. Based on the foregoing
25   100047/002553/02637731-1
     FIRST AMERICAN’S MOTION TO STRIKE                           LAGERLOF LLP
     SECOND AMENDED COMPLAINT-1                               701 PIKE STREET, SUITE 1560
                                                                  SEATTLE, WA 98101
     Case No. 2:22-CV-00538-LK                                   PHONE: 206-492-2300
          Case 2:22-cv-00538-LK Document 12 Filed 05/23/22 Page 2 of 4




1    and as further set forth below, FATIC respectfully requests that the Court strike Plaintiff’s

2    SAC from the judicial record, leaving the First Amended Adversary Complaint (the

3    “FAC”) as the operative pleading.

4                                           II.     FACTS

5             Plaintiff filed her original adversary complaint (“Complaint”) on January 18, 2022.

6    WD Wa. Bankruptcy Case 22-01000-TWD Docket Entry Number (“Bk. Dkt. No.”) 1.

7    Plaintiff filed a First Amended Adversary Complaint (the “FAC”) on January 19, 2022.

8    Bk. Dkt. No. 2. Then, without obtain leave of court, Plaintiff filed Second Amended

9    Adversary Complaint (the “SAC”) on March 4, 2022. Bk. Dkt. No. 4. The SAC adds

10   FATIC as a party asserting claims against FATIC for violations of the Escrow Agent

11   Registration Act, RCW 18.44 et seq., the Washington Consumer Protection Act, RCW

12   19.86 et seq., and the federal Truth in Lending Act, 15 U.S.C. § 1601, et seq. Bk. Dkt. No.

13   4, ¶¶ 3.23-3.28, 3.40-3.47.

14            There is nothing in the judicial record to support that Plaintiff was granted leave of

15   the Court or obtained agreement of the parties to file the SAC.

16                                   III.     LEGAL ARGUMENT

17            Federal Rule of Bankruptcy Procedure 7015 provides that Federal Rule of Civil

18   Procedure 15 applies in adversarial bankruptcy proceedings. Federal Rule of Civil

19   Procedure 15(a)(1) permits a party just one opportunity to amend a pleading without leave

20   of the Court. Once a party has amended once, leave of the court is required to amend again.

21   FRCP 15(a)(2).

22            “If an amended pleading cannot be made as of right and is filed without leave of

23   court or consent of the opposing party, the amended pleading is a nullity and without legal

24   effect.” Hardin v. Wal-Mart Stores, Inc., 813 F. Supp. 2d 1167, 1181 (E.D. Cal. 2011).

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     FIRST AMERICAN’S MOTION TO STRIKE                             LAGERLOF LLP
     SECOND AMENDED COMPLAINT-2                                 701 PIKE STREET, SUITE 1560
                                                                    SEATTLE, WA 98101
     Case No. 2:22-CV-00538-LK                                     PHONE: 206-492-2300
          Case 2:22-cv-00538-LK Document 12 Filed 05/23/22 Page 3 of 4




1    Such a pleading may also be stricken under Rule 12(f). Canady v. Erbe Elektromedizin

2    GmbH, 307 F. Supp. 2d 2, 7 (D.D.C. 2004).

3             Plaintiff amended her Complaint once as a matter of course and without leave of

4    the Court by filing the FAC on July 19, 2022. Bk. Dkt. No. 2. Plaintiff filed the SAC

5    without leave of the Court and without consent of the parties. Accordingly, the Court

6    should hold that the SAC is a nullity, has no legal effect, and order it stricken. By

7    extension, the summons issued on the SAC (Bk. Dkt. No. 6) is also invalid and must be

8    quashed or vacated.

9                                     IV.    CONCLUSION

10            Based on the foregoing, FATIC respectfully requests that the Court grant this

11   Motion to Strike, strike Plaintiff’s SAC from the judicial record, and quash or vacate the

12   summons issued on the SAC (Bk. Dkt. No. 6).

13            DATED this 23rd day of May 2022.

14                                                 LAGERLOF LLP
15
                                                   s/ Robert A. Bailey
16                                                 Robert A. Bailey, WSBA No. 28472
                                                   701 Pike Street, Ste 1560
17                                                 Seattle, WA 98101
                                                   Phone: 206-492-2300
18                                                 Email: rbailey@lagerlof.com
                                                   Attorneys for First American Title
19                                                 Insurance Company
20

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25   100047/002553/02637731-1
     FIRST AMERICAN’S MOTION TO STRIKE                         LAGERLOF LLP
     SECOND AMENDED COMPLAINT-3                             701 PIKE STREET, SUITE 1560
                                                                SEATTLE, WA 98101
     Case No. 2:22-CV-00538-LK                                 PHONE: 206-492-2300
          Case 2:22-cv-00538-LK Document 12 Filed 05/23/22 Page 4 of 4




1                                  CERTIFICATE OF SERVICE

2             I hereby certify that on the 23rd day of May 2022, I electronically filed the

3    foregoing with the Clerk of the Court for the United States District Court, Western District

4    of Washington using the CM/ECF system, which will provide notice to the following

5    parties as indicated below:

6
      Melissa A. Huelsman, WSBA No. 30935          [ ] By United States Mail
7     Law Offices of Melissa A. Huelsman, P.S.     [ ] By Legal Messenger
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      Seattle, WA 98104                            mhuelsman@predatorylendinglaw.com
9     Attorney for Plaintiff                       [X] By CM/ECF E-Service

10    Mark McClure, WSBA No. 24393                 [ ] By United States Mail
      Law Offices of Mark McClure, PS              [ ] By Legal Messenger
11    1103 W. Meeker St., Suite 101                [ ] By Email: mark@mcclurelawgroup.com
      Kent, WA 98032                               [X] By CM/ECF E-Service
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      Christina L. Henry, WSBA No. 31273           [ ] By United States Mail
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      Seattle, WA 98101                            [X] By CM/ECF E-Service
19    Attorney for Defendant Patch Services
      LLC
20
              DATED this 23rd day of May 2022 at Seattle, Washington.
21

22                                                s/ Karrie L. Blevins
                                                  Karrie L. Blevins, Paralegal
23                                                Lagerlof LLP
24

25   100047/002553/02637731-1
     FIRST AMERICAN’S MOTION TO STRIKE                          LAGERLOF LLP
     SECOND AMENDED COMPLAINT-4                              701 PIKE STREET, SUITE 1560
                                                                 SEATTLE, WA 98101
     Case No. 2:22-CV-00538-LK                                   PHONE: 206-492-2300
